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                   Exhibit A
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                               Suits by Plaintiff Texas vs. the Federal Government in Texas Federal Courts

#     Case Name                    Docket             Filed     District (Division)           Judge            Odds of drawing judge             Issue
1     Texas v. United States       6:21-cv-00003   1/22/2021    S.D. Tex. (Victoria)          Tipton                   100%                      Deportation pause
2     Texas v. Biden               3:21-cv-00065   3/17/2021    S.D. Tex. (Galveston)         Brown                    100%                      XL Pipeline
3.    Texas v. United States       6:21-cv-00016    4/6/2021    S.D. Tex. (Victoria)          Tipton                   100%                      Immigration Enforcement Priorities
4.    Texas v. Biden               2:21-cv-00067   4/13/2021    N.D. Tex. (Amarillo)          Kacsmaryk                 95%                      Suspension of Migrant Protection Protocols
5.    Texas v. Biden               4:21-cv-00579   4/22/2021    N.D. Tex. (Fort Worth)        Pittman                   45%                      Title 42 / COVID
6.    Texas v. Yellen              2:21-cv-00079    5/3/2021    N.D. Tex. (Amarillo)          Kacsmaryk                 95%                      ARPA Funding
7.    Texas v. Brooks-Lasure       6:21-cv-00191   5/14/2021    E.D. Tex. (Tyler)             Barker                     50                      Medicaid Demonstration Project
8.    Texas v. EEOC                2:21-cv-00194   9/20/2021    N.D. Tex. (Amarillo)          Kacsmaryk                  95                      EEOC Gender Identity Protection
9.    Missouri v. Biden            6:21-cv-00052   10/21/2021   S.D. Tex. (Victoria)          Tipton                    100                      Border Wall
10.   Texas v. Biden               3:21-cv-00309   10/29/2021   S.D. Tex. (Galveston)         Brown                     100                      Contractor Vaccine Mandate
11.   Texas v. Becerra             2:21-cv-00229   11/15/2021   N.D. Tex. (Amarillo)          Kacsmaryk                  95                      CMS Vaccine Mandate
12.   Texas v. Becerra             5:21-cv-00300   12/10/2021   N.D. Tex (Lubbock)            Hendrix                    64                      Head Start Vaccine Mandate
13.   Abbott v. Biden              6:22-cv-00003    1/4/2022    E.D. Tex. (Tyler)             Barker                     50                      COVID Mandate for National Guard
14.   Texas v. Biden               2:22-cv-00014   1/28/2022    N.D. Tex. (Amarillo)          Lynn*                       5                      Central American Minors Program
15.   Texas v. Biden               6:22-cv-00004   2/10/2022    S.D. Tex. (Victoria)          Tipton                    100                      Minimum Wage for Contractors
16.   Van Duyne v. CDC             4:22-cv-00012   2/16/2022    N.D. Tex. (Fort Worth)        O’Connor                   45                      Airline Mask Mandate
17.   Paxton v. Richardson         4:22-cv-00143   2/24/2022    N.D. Tex. (Fort Worth)        Pittman                    45                      Firearms Suppressors
18.   Texas v. Walensky            6:22-cv-00013   4/22/2022    S.D. Tex. (Victoria)          Tipton                    100                      Title 42 / COVID
19.   Texas v. Mayorkas            2:22-cv-00094   4/28/2022    N.D. Tex. (Amarillo)          Kacsmaryk                  95                      Credible Fear Screening
20.   Texas v. Becerra             5:22-cv-00185   7/14/2022    N.D. Tex (Lubbock)            Hendrix                    64                      Post-Dobbs Abortion Guidance
21.   Texas v. Becerra             3:22-cv-00419   12/12/2022   S.D. Tex. (Galveston)         Brown                     100                      Religiously Affiliated Adoptions
22.   Texas v. Mayorkas            6:23-cv-00001    1/5/2023    S.D. Tex. (Victoria)          Tipton                    100                      Public Charge Rule
23.   Texas v. EPA                 3:23-cv-00017   1/18/2023    S.D. Tex. (Galveston)         Brown                     100                      New Clean Water Act Rules
24.   Texas v. HHS                 4:23-cv-00066   1/18/2023    N.D. Tex. (Fort Worth)        Means                      10                      Medicare Funding/ Abortions
25.   Texas v. DHS                 6:23-cv-00007   1/24/2023    S.D. Tex. (Victoria)          Tipton                    100                      Immigration Parole
26.   Utah v. Walsh                2:23-cv-00016   1/26/2023    N.D. Tex. (Amarillo)          Kacsmaryk                 100                      Pension Trust Asset Investments
27.   Texas v. Becerra             7:23-cv-00022    2/7/2023    W.D. Tex. (Midland)           Counts                    100                      Medicare & Medicaid Pharmacies/ Abortion
28.   Texas v. Garland             5:23-cv-00034   2/15/2023    N.D. Tex (Lubbock)            Hendrix                    67                      Quorum Clause/Proxy Voting in House


Total by Division/Judge                                          * -- Only after drawing Chief Judge Lynn (a 5% chance at the time, but no longer possible), Texas moved to designate the
                                                                 case as related to another case pending before Judge Kacsmaryk Chief Judge Lynn denied the motion and transferred the
                                                                 case to Dallas.
Victoria (Tipton):             7
Amarillo (Kascmaryk):          6                                                             Gray: Division in which one judge hears 60% or more of all cases

Galveston (Brown):             4
Lubbock (Hendrix):             3
Tyler (Barker):                2
Fort Worth (Pittman)           2
Fort Worth (O'Connor)          1
Fort Worth (Means)             1
Amarillo (Lynn)                1
Midland (Counts)               1
